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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE


DANIEL MORIN,                                *
                                             *
               Plaintiff                     *
                                             *
v.                                           *      2:15-cv-00352-DBH
                                             *
CITY OF SACO, et al.                         *
                                             *
               Defendants                    *


                                  NOTICE OF DISMISSAL


       The Plaintiff, pursuant to F.R. Civ. P. 41(a) dismisses this case without prejudice and

without costs to any party.


Dated: January 5, 2016                                      /s/ Peter Clifford
                                                    Peter Clifford, Bar No. 7300
                                                    Clifford & Clifford, LLC
                                                    62 Portland Road, Suite 37
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